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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
12                         Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                          DEFENDANTS UBER
13          v.                                            TECHNOLOGIES, INC.,
                                                          OTTOMOTTO LLC, AND OTTO
14   UBER TECHNOLOGIES, INC.,                             TRUCKING LLC’S
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    ADMINISTRATIVE MOTION TO
15                                                        FILE DOCUMENTS UNDER SEAL
                           Defendants.
16
                                                          Trial Date: October 2, 2017
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 295-2 Filed 04/28/17 Page 2 of 3



 1          Upon consideration of Defendants Uber Technologies, Inc., Ottomotto LLC, and Otto

 2   Trucking LLC’s (“Defendants”) Administrative Motion to File Documents Under Seal, and

 3   finding that good cause exists, this Court hereby GRANTS Defendants’ Administrative Motion to

 4   File Documents Under Seal and ORDERS that the following documents shall be sealed, as

 5   indicated below:

 6

 7   Title of Document                                       Portions to Be Filed Under Seal

 8   Defendants’ Sur-Reply to Plaintiff Waymo                       Highlighted Portions
     LLC’s Motion for Preliminary Injunction
 9
     Supplemental Declaration of Michael Lebby                      Highlighted Portions
10
     (“Lebby Declaration”)
11
     Supplemental Declaration of Scott Boehmke                      Highlighted Portions
12   (“Boehmke Declaration”)

13   Supplemental Declaration of James Haslim                       Highlighted Portions
     (“Haslim Declaration”)
14
     Supplemental Declaration of Esther Chang                       Highlighted Portions
15
     (“Chang Declaration”)
16
     Exhibit 2 to the Lebby Declaration and Exhibit                       Entirety
17   15 to the Chang Declaration

18   Exhibit 26 to the Lebby Declaration                             Highlight Portions
19   Exhibit 27 to the Lebby Declaration                                  Entirety
20   Exhibits A, B, C, and D to the Boehmke                               Entirety
21   Declaration

22   Exhibit E to the Boehmke Declaration                           Highlighted Portions

23   Exhibit A to the Haslim Declaration                                  Entirety
24   Exhibit B to the Haslim Declaration                            Highlighted Portions
25   Exhibits 11 the Chang Declaration                                    Entirety
26
     Exhibits 12 and 14 to the Chang Declaration                    Highlighted Portions
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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     Case 3:17-cv-00939-WHA Document 295-2 Filed 04/28/17 Page 3 of 3



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 2          IT IS SO ORDERED.

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 4   Dated: _____________, 2017
                                                 HONORABLE WILLIAM ALSUP
 5                                               United States District Court Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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